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                             UNITED STATES OF AMERICA
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff(s),

v.                                                       Case No. 2:15-cr-23-02

JACLYN PATRICIA SNOUWAERT,                               HON. PAUL L. MALONEY

              Defendant(s).
                                    /


                                  ORDER OF DETENTION

              In accordance with the bond review hearing conducted before the undersigned on

February 12, 2016, IT IS HEREBY ORDERED that the order setting conditions of defendant’s

release shall be REVOKED and the defendant shall be detained pending sentencing in

accordance with 18 U.S.C. § 3143 (a)(2).

              IT IS SO ORDERED.



Dated: February 12, 2016                   /s/ TIMOTHY P. GREELEY
                                           TIMOTHY P. GREELEY
                                           UNITED STATES MAGISTRATE JUDGE
